Case 4:07-cv-05944-JST Document 3476-5 Filed 01/23/15 Page 1 of 3




               Exhibit B
                                                       Case 4:07-cv-05944-JST Document 3476-5 Filed 01/23/15 Page 2 of 3                            )                       Stock Code : 2475




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                                                                                                                                                             2007
                                                                                                                                                            ANNUAL REPORT
           CHUNGHWA PICTURE TUBES, LTD.




                 Chainnan, Wei-Shan Lin




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       CHUNGHWA PICTURE TUBES, LTD.
1127, Heping Rd., Bade City, Taoyuan, Taiwan, 334, R.O.C.
        Tel: 886-3-3675151 Fax: 886-3-3773115




                                                                                                                               Inquiry Websites

                                                                                                I   A nnua I Report 2007
                                                                                                    Printed on April 25 2008
                                                                                                CHUNGHWA PICTURE TUBES, LTD.
                                                                                                                               I
                                                                                                                               CPT website: http://www.cptt.oom.tw
                                                                                                                               MOPS: http://mops.tse.com.tw
                                                                                                                                 Case 4:07-cv-05944-JST Document 3476-5 Filed 01/23/15 Page 3 of 3




         ~ Technical and purchase agreement                                                                                                                                    v. RELATED PARTY TRANSACTIONS
                        Contracting party                 The term of the contract
                                                                                                                                                                               o Name and relationship
              Technology Agreement                                                                                                                                                                  Name of related party                                                 Relationship with the Company
                                                                                     1. The Corrpany is reqJi"ed to pay icensing fees on i1stallment basis for usng the
                                                                                                                                                                               T atung Co., Ltd.                                       The Company's major stockholder and represented on the Company's board of directors
                                                                April 1997           technologies.
                                                                                     2. The Cormany is reQ,Ji"ed to pay roy.tty fees based on a pre-dErterrrined percentage    Forward Electronics Co., Ltd.                           An investee accounted for under 'the equity method
              Advanced Display Inc. (ADI)                            I               of net sales of the related products for continilg use of exclusive technology.
                                                                                                                                                                               Tappan Chunghwa Electronics Co., Ltd.                   An investee accounted for under the equity method
                                                                                     3. ADI has the ri!tlt to purchase no more "than 1 5% of the total products from the
                                                                June 2010
                                                                                     Company at 90% of the average seli1g price. The Company bears the snppng costs of         Grand Cathay International Asset Management Co., Ltd.   A subsiclarv of the Company




-                                                                                                                                                                                                                                                                                                                                                     -
                                                                                     the proIi.Jcts to locations designated by AD!.
                                                                                                                                                                               Sintronic Technology Inc.                               AT! investee of Gland Cathay IntematCnal Asset Management Co. Ltd. accounted for l.Ilder tre eq.ity rne1tod
                                                                Jaruary 2002         ,. The Corrpany is reQJi"ed to pay lcensirg fees (one time payment) for using the
                                                                                                                                                                               Tatung Chungai Precious Metals Co., Ltd                 &Jbsidiary of Tatung Co., Ltd.
                                                                                     technologies.
             Sharp Corporation                                           I           2. The Corrpeny is reQJi"ed to pay royaty fees based on a pre-deterrrined percentage      Tatung Atherton Co.                                     SJbsidiary of Tatung Co., Ltd.
                                                                 June 201 1          of net sales of the related. products for continilg use of exclusive techrology.
                                                                                                                                                                               Taiwan Telecommurication Industry Co., Ltd.             &Jbsidiary of Tatung Co., Ltd.
                                                               January 2003          1. The Corrpeny is reQJi'ed to pay icensing fees on nstaIlment basis for usng the         Tatung Fine Chemical Co., Ltd                           SJbsidiary of Tatung Co., Ltd.
                                                                                     technologies.
              Hitachi                                                I               2. The Corrpany is retJJled to pay roy8ty fees based on a pre-dErterrrined percentage     Shang o,ih International Express Co., Ltd.              &Jbsidiary of Tatung Co., Ltd.

                                                              DecerrtJer 2010        of net sales of the related products for contin.r.g use of exclusive technology.
                                                                                                                                                                               T atung-Faruc Robotics Company                          SJbsidiary of Tatung Co., Ltd.

                                                              Jaruary 2004           1. The Corrpeny is reQJi'ed to pay icensing fees on nstaIlment basis for usi"lg the       Tatung Co. 01 Japan, Inc.                               &Jbsidiary of Tatung Co., Ltd.

              Semicond.Jctor Energy                                                  technologies.                                                                             Tatung (UK) Ltd.                                        SJbsidiary of Tatung Co., Ltd.
                                                                     I               2. The Corrpany is retJJled to pay roy8ty fees based on a pre-d!rterrrined percentage
              Laboratory Co., Ltd (SEW                                                                                                                                         Tatung (Thailarxl) Co., Ltd.                            &Jbsidiary of Tatung Co., Ltd.
                                                             December 2008           of net sales of the related products for continilg use of exclusive technology.




•                                                                                                                                                                                                                                                                                                                                                     •
                                                                                                                                                                               Tatung Co. 01 America, Inc.                             SJbsidiary of Ta'b.l1g Co., Ltd.
                                                                May 2002
                                                                                     The Company is required to pay icensirg fees on nstalment basis for using the             Tatung Consumer Products (Taiwan) Co., Ltd.             &Jbsidiary of Tatung Co., Ltd.
         Industrial Technology Research Institute (lTAI              I
                                                                May 2009                                                                                                       Tatung Electronics (Singapore) Pte Ltd                  &Jbsidiary of Tatung Co., Ltd.

                                                                                                                                                                               Tatung System TecITIoIogy Inc.                          &Jbsidiary of Taur.g Co., Ltd.
              Mitslilishi Electric Corporati::m and                                  The Company is required to pay icensirg fees on nstalment basis for using the
                                                            Noverrber 28, 2002
              Adwlced Display IrK:.                                                  technologies.                                                                             Toes Opto-Mechatrorics Co. Ltd.                         &Jbsidiary of Tatung Co., Ltd.

                                                                                                                                                                               Tatung Telecom Corporation                              An investee of Tatung Co., Ltd. accounted for under the equity method
                                                                May 2006             1. The Corrpany is 1'9CJJi'ed to pay lcensirg fees on hstaIlment basis for ushg the
                                                                                                                                                                               T atung OTIS Elevator Co., Ltd.                         An investee of Tatung Co., Ltd. accounted for under the equity method
                                                                                     technologies.
              Guardan Industries, Corp.                              I               2. The Corrpany is ~i"ed to pay roy8ty fees based on a pre-dErterrrined percentage        Kuender Company Co., Ltd.                               An investee of Tatung Co., Ltd. accounted for under the equity method
                                                                April 2011           of net sales of the related products for contirU1g' use of exclusive technology.
                                                                                                                                                                               Tatung Okuma Co., Ltd                                   An investee of Tatung Co., Ltd. accounted for under the equity method

                                                                April 2007           1. The Corrpany is reQ,Ji'ed to pay icensirg fees on hstaIlment basis for ushg the        Eltegroup CofT1lUter Systems Co., Ltd.                  An investee of Tatung Co., Ltd. accounted for under the equity method
              Toshiba Matsushita Display
                                                                                     technologies.
              Tectnology Co., Ltd (TMD)                              I               2. The Corrpany is reQ..li'ed to pay royaty fees based on a pre-dErterrrined percentage
                                                                                                                                                                               TIS Net Technology Inc.                                 &Jbsidiary of subsidiary of Taturg Co., Ltd

                                                              February 2012          of ret sales of the related products for contirU1g' use of exclusive technology.          Tatung Information Technology (Jiang Su) Co., Ltd.      SUbsidiary of subsidiary of Tatung Co., Ltd

                                                                                     1. &Jbsidiary of the company is r8CJi'ed to pay licensing fees on installment basis for   Chunghwa P.T. (BerTT'l..lda) Ltd.                       A subsdarv of the Company
                                                              October 2007
              LG. Display Co. Ltd                                                    using the technologies.
                                                                     I               2. The compa1y is required to pay royalty fees based on pre-dlrterrrired percentage of
                                                                                                                                                                               Chunghwa P.T. (Labuan) Ltd.                             A subsiclary of the Company's subsidilwy
              (LG. Phirps LCD Co.,Ltdj LPL.)
                                                            SepterT"ber 2014         net sales of the related prod.Jcts for contnuing use of excl.Jsive teclYlology.           Chunghwa P.T. (Malaysia) Sdn Bhd.                       A subsdarv of the Company's subsidilwy

              Purchase Agreement                                                                                                                                               CPTF Optronics Co., Ltd.                                A subsiclary of the Company's subsidilwy

                                                                                     1. Coming Taiwan wil guarll'rtee to supply materials of TFT -LCD to the Compa1y for 6     Chunghwa P.T. (Wujiang) Ltd                             A subsdarv of the Company's subsidilwy
                                                                Aprl 2005
              Coming Display T echnoiogies                                           generation fabrication.
                                                                     I               2. The Corrpany is reqJi"ed to rr8<e prepayments on i1stalment basis to Coming
                                                                                                                                                                               Dalemont Investment Ltd.                                A subsiclary of the Company's subsidilwy
              Tawan Co~ Ltd ("Coming Taiwan")
                                                               March 2011            Taiwan to deductible from subsecf,Jent purchase.                                          Daliant Investment Ltd.                                 A subsdarv of the Company's subsidilwy

                                                                                                                                                                               Bangalor Investment Ltd                                 A subsiclary of the Company's subsidilwy

                                                                                                                                                                               Bensaine Investment Ltd                                 A subsdarv of the Company's subsidilwy

                                                                                                                                                                               Chunghwa P.T. Display Technology (Fujian) Ltd.          A subsiclary of the Company's subsidilwy

                                                                                                                                                                               Chunghwa P.T. Display Technology (Shen-Zhen) Ltd.       A subsdarv of the Company's subsidilwy

                                                                                                                                                                               CPT TPV Optical Co., Ltd.                               A subsiclary of the Company's subsidilwy

                                                                                                                                                                               Chunghwa P.T. (Kampar) Sdn. Bhd.                        A subsdarv of the Chunghwa P.T. (Malaysia) Scln. Bhd.

                                                                                                                                                                               CPTF Visual Display (Fuzhou) Ltd.                       A subsiclary of CPTF Optronics Co., Ltd.

                                                                                                                                                                               Makoiin Electrorics (M) Sdn. Bhd.                       An investee of (hmghwa P.T. (Berm..da) Ltd. accounted for I.I1der the ecJ.Iity method

                                                                                                                                                                               Xiamen Overseas Chinese Electronic Co., Ltd.            An investee of D-l.Inghwa P.T. (Wujiang) Ltd. accounted for under the equity methcx:l

                                                                                                                                                                               Jean Co., Ltd.                                          Chaiman is one of the irrrnecliate family merrbers of the Company's Cllairman

                                                                                                                                                                               Jeffrey Investment Ltd.                                 SUbsidiary of Jean Co., Ltd.

                                                                                                                                                                               K-tronics, Inc.                                         &Jbsidiary of subsidiary of Jean Co., Ltd

                                                                                                                                                                               Jean (M) Sdn. Bhd., Malaysia                            SUbsidiary of Jean Co., Ltd.

                                                                                                                                                                               T atung University                                      The major stockholder of Ta'tung Co., Ltd.

    82                                                                                                                                                                         Lin Wei Shan                                            Chaiman of the Company                                                                                        83
